                                                                                                 Entered on Docket
                                                                                                 September 24, 2019
                                                                                                 EDWARD J. EMMONS, CLERK
                                                                                                 U.S. BANKRUPTCY COURT
                                                                                                 NORTHERN DISTRICT OF CALIFORNIA



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                                                                                            The following constitutes the order of the Court.
                                             2                                              Signed: September 24, 2019
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                                             4                                              _________________________________________________
                                                                                            M. Elaine Hammond
                                                                                            U.S. Bankruptcy Judge
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                                                                        UNITED STATES BANKRUPTCY COURT
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                                                                        NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                  )   Case No. 19-51455 MEH
                                            10   In re                                            )
UNITED STATES BANKRUPTCY COURT




                                                                                                  )   Chapter 11
  for the Northern District of California




                                            11   Home Loan Center, Inc.,                          )
                                                                                                  )
                                            12                                                    )   Date: September 24, 2019
                                                                                                  )   Time: 10:00 a.m.
                                            13                                  Debtor.           )   Place: 280 South First Street
                                                                                                  )          Courtroom 11
                                            14                                                    )          San Jose, CA 95113
                                                                                                  )
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                                                                ORDER DENYING WITHOUT PREJUDICE APPLICATION
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                                            17                         TO EMPLOY ARCH & BEAM GLOBAL, LLC
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                                                         On July 31, 2019, Debtor filed an application to employ Arch & Beam Global, LLC
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                                                 (“Arch + Beam”) as a chief restructuring officer pursuant to 11 U.S.C. § 363 and § 105 (Dkt#
                                            20
                                                 37). The United States Trustee and Creditors ResCap Liquidating Trust and Lehman
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                                                 Brothers Holdings, Inc. opposed the application.
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                                                         The matter came on for hearing on September 24, 2019 at 10:00 a.m. Appearances
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                                                 were stated on the record.
                                            24           For the reasons stated on the record, it is hereby ORDERED that Debtor’s application
                                            25   to employ Arch + Beam is denied without prejudice to Arch + Beam seeking employment
                                            26   pursuant to 11 U.S.C. § 327.
                                            27                                      **END OF ORDER**
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                                             Case: 19-51455       Doc# 101      Filed: 09/24/19       Entered: 09/24/19 13:34:31      Page 1 of 2
                                             1                                COURT SERVICE LIST
                                             2   All ECF Recipients
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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                                             Case: 19-51455     Doc# 101   Filed: 09/24/19   Entered: 09/24/19 13:34:31   Page 2 of 2
